Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 1 of 20 PageID #: 2241




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                   Terre Haute Division


  ROGER TODD,                                  )
                                               )
                  Plaintiff,                   )
                                               )
          v.                                   )              Case No.       2:19-cv-85-JMS-DLP
                                               )
  OCWEN LOAN SERVICING, LLC., and              )
  DEUTSCHE BANK NATIONAL TRUST CO., as )
  Trustee for NovaStar Mortgage Funding Trust, )
  Series 2007-1 ,                              )
                                               )
                Defendants.                    )

         PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
                   AND FOR AN ORDER IMPOSING SANCTIONS

         Plaintiff Roger Todd (“Todd”) moves this Court for an order compelling discovery

  responses and imposing sanctions against Defendant Ocwen Loan Servicing, LLC. (“Ocwen”)

  for their noncompliance with Federal Rules of Civil Procedure 26 and 37, as well as the reasons

  set forth below:

                                            Introduction

        Ocwen is a financial-services company primarily focused on mortgage servicing. To

  manage the considerable amount of information required to administer its loans, Ocwen used a

  software based servicing system called REALServicing. Unfortunately, REALServicing “lacked

  necessary automation and functionality,” and thus required constant manual workarounds prone

  to human error. These shortcomings, coupled with an absence of institutional control, caused

  Ocwen to systematically fail to timely and accurately apply borrower payments and maintain

  accurate account statements, to charge unnecessary and unauthorized fees, to report inaccurate

  information to credit reporting agencies, and to initiate wrongful collection activities including


                                                  1
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 2 of 20 PageID #: 2242




  foreclosure actions. Ocwen has long known of these deficiencies yet continued to utilize

  REALServicing to service loans. In turn, these problems were identified by regulators and were

  to be corrected pursuant to the terms of various regulatory enforcement actions. Todd contends

  Ocwen has acted willfully in failing to take sufficient corrective action to address the

  aforementioned failures generally and with respect to his loan specifically, despite having full

  and complete knowledge of the harm it would cause borrowers like himself.

         Per the Consumer Finance Protection Bureau, Ocwen tracks its regulatory violations,

  risk areas, and other failures in spreadsheets called “Risk Convergence Reports.” Each regulatory

  violation, risk item, or failure identified in the report includes a description of the issue, the date

  Ocwen identified the issue, the status of any technology fix or other operational remediation, and

  other information. The items in the Risk Convergence Reports largely revolve around

  REALServicing failures and system limitations including without limitation the handling of

  loans involved in a Chapter 13 bankruptcy, the investigation and correction of consumer credit

  reporting disputes, payment misapplications, and the assessment of inappropriate fees and costs.

  Ocwen has never challenged the CFPB’s description of these reports and does not deny these

  reports were created before the various regulatory actions and continued to be created until long

  after the conclusion of the same.

         Thus, Todd seeks the Risk Convergence Reports, and email correspondence containing

  reference to specific issues identified with them, as they contain information relevant and vital to

  establishing Ocwen’s knowledge, willful indifference, or deliberate violation of the Fair Credit

  Reporting Act (“FCRA”), 15 U.S.C. 1681n , the Real Estate Settlement Procedures Act

  (“RESPA”), 12 U.S.C. § 2601 et seq., the Indiana Deceptive Consumer Sales Act (“IDCSA”),

  Ind. Code § 24-5-0.5-2, the Indiana Crime Victims’ Relief Act (“ICVRA”), Ind. Code § 34-24-3-



                                                    2
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 3 of 20 PageID #: 2243




  1, the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., and the

  bankruptcy discharge, 11 U.S.C. § 524. See, e.g. Renfroe v. Nationstar Mortg., LLC, 822 F.3d

  1241(11th Cir. 2016). In sum, this case is not merely about Todd’s loan or an unforeseeable error

  that could not have been avoided – it involves a knowing “pattern and practice” of mortgage

  servicing misconduct, Ocwen’s refusal to address both curable and incurable deficiencies known

  to exist with regard to REALServicing and having the effect of creating manufactured states of

  default generally and with regard to Todd’s loan specifically and, thus, willfully indifferent

  conduct.

              History of Discovery Dispute & Compliance with Local Rule 37-1(a)

         On May 16, 2019, Todd served Requests for the Production of Documents (“RFP’s”)

  upon Ocwen, a copy of which is attached hereto as Exhibit A. In those RFP’s, Todd sought,

  without limitation, emails and other documents referring or relating to Ocwen’s: (1) responses to

  Todd’s alleged Notices of Errors (RFP’s No. 28, 29, 30, and 31); (2) policies or directives

  regarding the treatment of loans and mortgage accounts of debtors involved in a Chapter 13

  bankruptcy (RFP’s No. 38); (3) policies or directives regarding collection efforts on loans and

  mortgage accounts involved in a Chapter 13 bankruptcy (RFP No. 39); (4) calls to Todd (RFP

  No. 22); and (5) general servicing functions and specific transactions relative to Todd’s loan

  (RFP’s No. 1-30).

         On or about June 27, 2019, Ocwen responded to the RFP’s, a copy of which is attached

  hereto as Exhibit B. However, Ocwen failed to include even a single email and objected to each

  RFP with an abundance of repetitive boilerplate objections. Todd contends these objections are

  insufficient and are reflective of a failure by Ocwen to adhere to the standards for responding to

  discovery requests. Fed. R. Civ. P. 26(b) (1).



                                                   3
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 4 of 20 PageID #: 2244




         Since late-September, through both written and verbal communications, Todd has

  attempted to resolve this discovery dispute with Ocwen. Specifically, Todd and Ocwen

  exchanged emails on, but not limited to: (1) September 20, 2019; (2) October 2, 2019 (3)

  October 14, 2019; (4) October 16, 2019; (5) October 21, 2019; (6) October 22, 2019; (7) October

  24, 2019; and, (8) November 5, 2019. (See Exhibits C – G). In addition, Todd and Ocwen

  conducted telephonic “meet and confers” on but not limited to: (1) September 24, 2019; (2)

  October 10, 2019; (3) October 24, 2019; (4) October 25, 2019; (5) October 31, 2019; and, (6)

  November 5, 2019.

         On October 3, 2019, the Court conducted a telephonic status conference to discuss

  requested changes to the Case Management Plan. During the call, Todd raised specific concerns

  about Ocwen’s failure to produce Risk Convergence Reports or any email correspondence

  responsive to his RFP’s. Thereafter, the Parties agreed to “meet and confer” again about these

  two items specifically and maintain the previously calendared telephonic status conference on

  October 10, 2019 to follow-up with the Court.

         On October 10, 2019, the Court conducted a Discovery Conference to follow-up on the

  issues raised during the call on October 3, 2019. During the call, Todd represented the Parties

  were at an impasse with regard to the Risk Convergence Reports and email correspondence.

  Ocwen had neither agreed to produce the documents nor provide a specific basis for them being

  withheld.

         On October 14, 2019, following a telephonic “meet and confer,” Todd provided Ocwen

  with an even more detailed description of the ‘Risk Convergence Reports’” and email

  correspondence be believed should have been provided in response to his RFP’s. See Exhibit E.




                                                  4
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 5 of 20 PageID #: 2245




         On October 23, 2019, Todd agreed to narrow the scope of his requests relative to the

  email correspondence to those emails reflected in the servicing notes and all other emails

  responsive to the following [non-exact] search terms: (1) Roger Todd; (2) 8800 East Washboard

  Road; (3) Loan No. 711045244; (4) Metric Remediation; (5) Metric 1.A; (6) Metric 2.A; (7)

  Metric 2.B; (8) Metric 2.C; (9) Metric 4.C; (10) Metric 5.E; (11) Metric 5.A; (12) Metric Failure;

  (13) QWR Responses; (14) IRG Testing Results; and (15) Bankruptcy Compliance. Further

  limiting the scope of his request, Todd has agree to limit the period of time subject to this request

  to emails generated from Jan. 1, 2013 to today (hereinafter, “Email Correspondence”). For

  purposes of this Motion to Compel only search terms numbered (4) through (15) are at issue.

  Todd awaits Court approval to Compel the production of emails responsive to search terms

  numbered (1) through (3). A copy of the correspondence setting forth the above referenced

  search terms and limiting language is attached hereto as “Exhibit H.”

         On October 25, 2019, Todd again emailed Ocwen requesting an update or response

  relative to Ocwen’s position with regard to the Risk Convergence Reports (Control Reports). A

  true and accurate copy of this email is attached hereto as “Exhibit I.”

          On or about October 25, 2019, at the Court’s direction, Todd circulated a Position

  Statement reflecting the nature of this dispute. A true and accurate copy of Todd’s Position

  Statement, dated October 25, 2019, is attached hereto as “Exhibit J.”

         On October 30, 2019, the Court commenced and concluded a Discovery Conference.

  [Doc. 56] During the call, in response to Ocwen’s contention the RFP’s did not require the

  production of the Risk Convergence Reports as no specific request sufficiently encompassed

  them, the Court instructed Todd to immediately issue a supplemental Request for the Production

  singularly and specifically requesting the Risk Convergence Reports. In addition, the Court



                                                   5
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 6 of 20 PageID #: 2246




  instructed Ocwen to provide a formal response to said request on or before the Discovery

  Conference simultaneously calendared for November 7, 2019.

         On October 31, 2019, Todd directed the supplemental Request for Production to Ocwen.

  A true and accurate copy of the RFP is attached hereto as “Exhibit K.”

         On the morning of November 7, 2019, Ocwen circulated a Position Statement setting

  forth its specific objections to the supplemental Request for Production regarding the Risk

  Convergence Reports. A true and accurate copy of Ocwen’s Position Statement dated November

  7, 2019 is attached hereto as “Exhibit L.” Also on November 7, 2019, Todd submitted his own

  Position Statement. A true and accurate copy of Todd’s Position Statement dated November 7,

  2019 is attached hereto as “Exhibit M.”

         Also on November 7, 2019, Todd provided the Court with further detail about the Risk

  Convergence Reports. A true and accurate copy of Todd’s submission containing a detailed

  description of the Risk Convergence Reports is attached hereto as “Exhibit N.”

          During the Discovery Conference on November 7, 2019 [Doc. 59], the Court authorized

  Todd to proceed with filing a motion to compel with regard to the sought after Risk Convergence

  Reports and Email Correspondence responsive to search terms No. 4-15.

                                            Legal Standard

        Federal Rule of Civil Procedure 26(a)(1) requires, generally, that parties identify

  discoverable information and make available by category documents in their possession. Fed. R.

  Civ. P. 26(a)(1)(A)(i)-(ii). Under Federal Rule of Civil Procedure 26(b)(1), “[p]arties may obtain

  discovery regarding any non-privileged matter that is relevant to any party’s claim or defense

  and proportional to the needs of the case, considering the importance of the issues at stake in the

  action, the amount in controversy, the parties relative access to relevant information, the parties’



                                                   6
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 7 of 20 PageID #: 2247




  resources, the importance of the discovery in resolving the issues, and whether the burden or

  expense of the proposed discovery outweighs its likely benefit. Information within this scope of

  discovery need not be admissible in evidence to be discoverable.” Relevant discovery includes

  “any matter that bears on, or that reasonably could lead to other matter[s] that could bear on, any

  issue that is or may be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351

  (1978).

        A party may seek an order to compel discovery when an opposing party fails to respond to

  discovery requests or provides evasive or incomplete responses. Fed. R. Civ. P. 37(a)(2)-(3).

  “The burden rests upon the objecting party to show precisely why a request is improper.” Meyer

  v. S. Pac. Lines, 199 F.R.D. 610, 612 (N.D. Ill. 2001). “General objections to discovery requests

  that merely recite boilerplate language without explanation do not meet this burden, and courts

  within the Seventh Circuit consistently overrule them or entirely disregard them.” Odongo v.

  City of Indianapolis, 2015 WL 420110 (S.D. Ind. Jan. 30, 2015).

                                              Argument

            A. The Risk Convergence Reports and Email Correspondence Are Relevant to the
               Claims In This Matter.

            Ocwen argues the Risk Convergence Reports and Email Correspondence are not relevant.

  Todd contends the information is relevant to establishing Ocwen’s knowledge of systematic

  problems with its servicing platform REALServicing and the wholesale absence of procedures

  necessary to ensure compliance with the federal consumer protection laws implicated herein.

  Todd further contends the Risk Convergence Reports and Email Correspondence will identify

  “other incidents of the same type” and the “discovery of admissible evidence related to the

  willful issue.” See Dalton v. Capital Associated Indus., Inc., 257 F.3d 409, 418 (4th Cir. 2001).




                                                   7
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 8 of 20 PageID #: 2248




         Here, similar to the willfulness issue explored in Dalton, the Risk Convergence Reports

  and Email Correspondence are relevant and vital to the establishment of requisite elements of

  Todd’s claims for violation of the FCRA, 15 U.S.C. 1681n, 1 the RESPA, 12 U.S.C. § 2601 et

  seq., 2 the IDCSA, Ind. Code § 24-5-0.5-2, 3 the ICVRA, Ind. Code § 34-24-3-1, 4 the discharge

  injunction and automatic stay, 11 U.S.C. § 524, 5 and the TCPA, 47 U.S.C. § 227 et seq. 6

  Instructive on this issue is the analysis recently provided by Judge Brookman in O’Gara v.

  Equifax Information Services, LLC., No., 2018 WL 513535 (S.D. Ind. Jan. 23, 2018).

         In O’Gara, the plaintiff sought, among other things discussed below, internal records and

  reports “prepared, maintained, or otherwise circulated within [Equifax] relating to the number of

  mixed files [Equifax] ‘confirmed’ (according to [Equifax’s] criteria for identifying and

  confirming mixed files) in each of the previous five years.” Id. at *6. Equifax objected to the

  request as overbroad, irrelevant, seeking confidential, proprietary, and/or trade secret

  information, the attorney-client privilege, the attorney work-product doctrine, or “any other

  applicable privilege or protection.” Id. In reply, the plaintiff argued the records and reports were


  1
    Todd contents Ocwen has acted “willfully” by taking actions entailing “an unjustifiably high risk of harm that
  [was] either known or so obvious that it should be known.” Safeco Ins. Co. of America v. Burr, 551 U.S. 47, 70-71
  (2007); see also Graham v. CSC Credit Servcs., 306 F.Supp.2d 873, 880-81 & n.1 (D. Minn. 2004); (An “intentional
  policy decision” not to change its system in the face of changing times or clear need raises a question of
  willfulness.).
  2
    In order to recover statutory damages, the plaintiff must show “a pattern or practice of noncompliance.” 12 U.S.C.
  § 2605(f)(1)(B). “Pattern or practice” is not defined by a specific number of offenses; rather, the term suggests a
  routine and knowing manner of operating. However, “pattern and practice” may entail allegations and analysis into
  similar servicing misconduct affecting other borrowers. See, e.g. Quimby v. Caliber Home Loans, 2015 WL
  3751511, at *2 (S.D. Ind. Apr. 22, 2015); see, also Obazee v. Bank of NY Mellon, 2015 WL 8479677 (N.D. Tex.
  Dec. 10, 2015).
  3
    “Incurable deceptive act” means a deceptive act done by a supplier as part of a scheme, artifice, or device with
  intent to defraud or mislead.
  4
    “A person who knowingly or intentionally exerts unauthorized control over property of another person” commits
  Conversion under Ind. Code § 35-43-4-2(b).
  5
    “To prove that a discharge injunction has been violated, "the debtor must show that the creditor acted intentionally,
  with knowledge that his act would be in violation of the automatic stay [or injunction]."” Romanucci & Blandin,
  LLC v. Lempesis, 2017 U.S. Dist. LEXIS 71526, at *12 (N.D. Ill. May 4, 2017).
  6
     Damages may be trebled to $1,500 per violation upon a finding of a knowing or willfull violation of the TCPA. 47
  U.S.C. § 227(b)(3)(C).

                                                            8
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 9 of 20 PageID #: 2249




  relevant to show that Equifax knew of its systemic problems and failed to take remedial

  measures, ie., willfulness. Id. In granting the plaintiff’s Motion to Compel with regard to the

  internal records and reports, the Court rejected both Equifax’s narrow position about their

  relevancy as their use of generalized objections. Id.

        The O’Gara plaintiff also sought information related to the identity of analogous cases that

  Equifax had defended, the number of “mixed files” it had investigated, and the number of

  “mixed files” it had confirmed. The plaintiff argued that he was entitled to know what Equifax

  knew about mixed files and when it knew it—to wit, that if Equifax had never encountered a

  mixed file before, the standard of care to prevent or correct such an error would be much

  different than if Equifax had ample knowledge of the type of error but failed to take remedial

  measures. Id at *8. By in large another variation of the willfulness issue. In ordering Equifax to

  answer the interrogatories seeking this information, the court noted: “[t]he Comments to Fed. R.

  Civ. P. Rule 26 [sic] are also clear that relevancy is [sic] to a parties' claims or defenses is

  broader than being relevant to the subject matter of the suit.” Id. at *9. The court also made

  reference to the fact that “[o]ther courts [had] granted similar discovery requests.” O’Gara, 2018

  WL 513535 at *9.

        Finally, the O’Gara plaintiff sought information from Equifax related to a New York

  Attorney General (“NYAG”) investigation, settlement, and Equifax’s subsequent compliance

  with the settlement. In order Equifax to produce the information, the court reasoned the NYAG

  settlement and information pertaining to Equifax’s subsequent compliance was also relevant to

  the “willful” issue. Id. at *13. (“The fact that only a small number of mixed files occur through

  the CRA’s matching information processes does not negate the relevancy of the evidence related

  to the NYAG Settlement Agreement and the March 13, 2017 Press Release.”).



                                                   9
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 10 of 20 PageID #: 2250




        Here, Todd seeks the same type of information and for the same purpose as the plaintiff in

  O’Gara. The Risk Convergence Reports and Email Correspondence are relevant to issues of

  knowledge and “willfulness” (and various of willfulness) inherent to claims under the FCRA,

  TCPA, and others.

        This issue was also confronted in Saccameno v. Ocwen Loan Servicing, LLC, 372 F. Supp.

  3d 609, 647 (N.D. Ill. 2019). In Saccameno, Ocwen resisted the introduction of relevant portions

  of certain regulatory consent orders and decrees on similar grounds. Ocwen sought to have these

  documents excluded from use at trial. The trial court overruled the objections and allowed

  certain portions of those documents to be offered as exhibits at the trial. After the jury returned a

  verdict in Saccameno’s favor, Ocwen renewed its opposition to the exhibits post-trial. But once

  again, the trial court rejected Ocwen’s arguments holding “The CFPB consent judgment's

  allegations are relevant to the issue of notice regardless of whether Ocwen disputes their truth.

  Put differently, even if Ocwen believed that the state regulators' findings were mistaken, the

  consent orders nonetheless show that the regulators had made Ocwen aware of their concerns.”

  Id. “Like the CFPB consent judgment, the NYSDFS consent order arose out of the broader

  multistate investigation into Ocwen's loan servicing practices. As a result, the NYSDFS consent

  order makes reference to many of the same general problems noted in the CFPB consent

  judgment. See Ex. P44 at 3 (“In 2010 and 2011, the Department participated in a multistate

  examination of Ocwen [that] ... identified, among other things, deficiencies in Ocwen's servicing

  platform and loss mitigation infrastructure, including ... failure to properly maintain books and

  records.”). Notwithstanding its emphasis on New York, therefore, Exhibit P44 is relevant to

  showing Ocwen's notice of regulators' concerns with its loan servicing practices.” Id. at 648.

         B. Production of the Risk Convergence Reports and Email Correspondence Is Not
            Barred by the Self-Critical Analysis Privilege or the Work-Product Doctrine.


                                                   10
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 11 of 20 PageID #: 2251




         Ocwen argues the self-critical analysis privilege and work-product doctrine bar

  production of the Risk Convergence Reports and Email Correspondence. In support of its

  position regarding the self-critical analysis privilege, Ocwen cites to Tice v. American Airlines,

  Inc., 192 F.R.D. 270 (N.D. Ill. 2000) (“The parameters of the privilege, like the privilege itself,

  are rather vague.”) But what is most interesting about Tice is that its holding, the very existence

  of the self-critical analysis privilege, was specifically disavowed in Lund v. City of Rockford,

  2017 WL 5891186 (N.D. Ill. 2017), a case wherein it was sought by Hinshaw & Culbertson--the

  same firm representing Ocwen in this case. In Lund, the District Court for the Northern District

  of Illinois considered, and ultimately destroyed, the viability of the self-critical analysis

  privilege. Id. at *6 (“This Court does more than just question the viability of the privilege;

  instead, it pronounces the self-critical analysis privilege dead . . . .”) (emphasis added). The

  court in Lund considered whether reason or experience supported the recognition of the self-

  critical analysis privilege. Id. at *5 (“Federal Rule of Evidence 501 directs that federal courts use

  both reason and experience in determining whether to recognize a privilege.”). First, the court in

  Lund found that reason established multiple bases for not recognizing the privilege, primarily

  due to the holding of University of Pennsylvania v. Equal Employment Opportunity Commission,

  493 U.S. 182, 110 S.Ct. 577, 107 L.Ed.2d 571 (1990), unanimously refusing to recognize the

  peer-review privilege, the rationale for which is identical to the rationale for the self-critical

  analysis privilege. Id. at *6 (“Accordingly, if the rationale fails for one, then it necessarily fails

  for the other.”). Accordingly, the court pronounced the self-critical analysis privilege dead in

  light of University of Pennsylvania. Id.

         Second, the court in Lund found that experience similarly did not support recognition of

  the privilege. Id. at *8. The court reviewed the history of the privilege’s application, which it


                                                   11
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 12 of 20 PageID #: 2252




  described as a “spotty history at best.” Id. (citing Lara v. Tri-State Drilling, Inc., 504 F. Supp. 2d

  1323, 1326 (N.D. Ga. 2007); Tice v. American Airlines, Inc., 192 F.R.D. 270, 272 (N.D. Ill.

  2000)) (other internal citations omitted). The court completed a survey of circuit court and

  district court decisions, which “establishe[d] that no circuit court of appeals has recognized the

  self-critical analysis privilege and the district courts within the circuits have not consistently, let

  alone uniformly, recognized the privilege.” Lund, 2017 WL 5891186 at *9. Accordingly, the

  court noted that “the Seventh Circuit, itself, has not recognized the self-critical analysis

  privilege.” Id. at *11 (citing Burden-Meeks v. Welch, 319 F.3d 897, 899 (7th Cir. 2003); Coates

  v. Johnson & Johnson, 756 F.2d 524, 551 (7th Cir. 1985)). Further, regarding Indiana’s

  treatment of the privilege, the court made specific mention of how it was unable to “locate any

  case from the Southern District of Indiana addressing the self-critical analysis privilege” and that

  in the Northern District of Indiana, Magistrate Judge Martin refused to recognize the

  privilege. Rogers v. Quality Carriers, Inc., Cause No. 4:15-CV-22-JD-JEM, 2016 WL 3413766

  (N.D. Ind. June 21, 2016).

        Based on the foregoing, the Lund court found that “[t]he reasoning behind and experience

  with the self-critical analysis privilege provides very little basis to overcome the strong

  disinclination to recognize a privilege that would shield relevant information from not only a

  litigant but also the ultimate trier of fact.” Id. at *14 (citing Nilavar v. Mercy Health Sys. – W.

  Ohio, 210 F.R.D. 597, 606 (S.D. Ohio 2002)). Accordingly, the court refused to recognize the

  self-critical analysis privilege. Id. at *1.

        With regard to Ocwen’s contention that the Risk Convergence Reports and Email

  Correspondence are protected by the work-product doctrine, it is their burden to first establish

  that application is appropriate. Fed. R. Civ. P. 26(b)(3); Sandra T.E. v. South Berwyn School



                                                    12
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 13 of 20 PageID #: 2253




  Dist. 100, 600 F.3d 612, 618 (7th Cir. 2010) (citing United States v. Nobles, 422 U.S. 225, 238-

  39 (1975) ). Here, Ocwen cannot satisfy this burden as its position ignores an undeniable truth:

  the Risk Convergence Reports and Email Correspondence were prepared and kept in the

  ordinary course of business, not in anticipation of litigation. The documents were generated

  before, during, and after any particular proceeding. See, e.g., United States v. Adlam, 134 F.3d

  1194 (2d Cir. 1998) (Documents created as a result of the discovery opponent’s ordinary course

  of business, as a result of a prior dispute, or that should have been created irrespective of

  litigation are not under the protection of the work product doctrine.); See also Long v. Anderson

  University, 204 F.R.D. 129 (S.D. Ind. 2001)( Not all documents generated from an internal

  investigation are protected by the work product doctrine “simply because a company’s internal

  investigation is coexistent with a present or anticipated lawsuit that is the same subject matter of

  the litigation.”) quoting Caremark, Inc. v. Affiliated Computer Services, Inc., 195 F.R.D. 610

  (N.D. Ill. 2000)).

        In Long, a student-athlete plaintiff sought production of documents relating to Anderson

  University’s (“Anderson”) internal investigation of his sexual harassment complaint. Long, 204

  F.R.D. at 136. Anderson refused, claiming the documents were protected by the work-product

  doctrine. In evaluating whether the documents were protected, the court first addressed the

  “threshold determination [of] ‘whether the documents sought to be protected were prepared in

  anticipation of litigation or trial’” because “documents created as a result of the discovery

  opponent’s ordinary course of business ‘that would have been created irrespective of litigation

  are not under the protection of the work product doctrine.’” Id. (internal citations omitted).

  Notwithstanding, otherwise-protected materials may be discoverable if the party seeking

  production shows a substantial need for the materials and that it would suffer undue hardship in



                                                  13
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 14 of 20 PageID #: 2254




  procuring the materials another way. Id. In addition, “[t]o establish the protection of a privilege,

  descriptions of privileged documents must contain sufficient information for the court to

  ascertain the content of the documents; burden remains with the non-producing party to

  ‘demarcate a set of documents clearly entitled [to the privilege] without further inquiry to

  confidential status.’” See also Citizens First National Bank of Princeton v. Cincinnati Ins. Co.,

  178 F.3d 943, 945 (7th Cir. 1999). The Long court ultimately ordered production of many of the

  requested documents because “[a]lthough counsel advised Defendants throughout the process of

  their investigation, it took place as a result of the university’s harassment policy, thus as an

  ordinary and customary step in conducting its business.” Id. at 137. Mere anticipation of

  litigation does not shield documents from production. Id. at 138.

        Here, much like the case of Long, Todd seeks the production of documents relating to

  Ocwen’s own efforts to evaluate the scope of its risk with respect to its servicing operations. The

  CFPB described the Risk Convergence Reports as follows:

           “Since 2014, Ocwen has also tracked its regulatory violations, risk areas, and other
  failures     in    spreadsheets     named       “Risk Convergence Reports.”        Each     regulatory
  violation, risk item, or failure identified in the report includes a description of the issue, the date
  Ocwen identified the issue, whether the issue is dependent on Altisource [the vendor who
  licensed RealServicing to Ocwen], the status of any technology fix or other operational
  remediation, and other information.

  Each item in the Risk Convergence Reports is assigned a risk rating, ranging from “R1” to “R5.”
  “R1” is the highest risk rating, which Ocwen defines as: “Potential adverse impact of over $5
  million”; “Actual or high possibility for fraud, waste or abuse”; “Breach of company policy or
  procedures (frequent, repeat, or disregarding policy)”; “Noncompliance with the law or
  regulation”; or “Material errors or irregularities are a reasonable possibility.”

  According to Ocwen’s list of items in the Risk Convergence Report, the items often resulted
  from and have continued due to REALServicing failures or system limitations. When, for
  example, Ocwen conducted its first on-site audit of Altisource and REALServicing in 2014,
  Ocwen auditors concluded that, although 70 percent of the items contained within
  the Risk Convergence Report related to “technology projects and enhancements” that Altisource
  was responsible for, little progress was being made to resolve the items due to Altisource’s “lack
  of priority.”


                                                    14
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 15 of 20 PageID #: 2255




  As of August 2015, Ocwen had catalogued 2,803 issues on its Risk Convergence Report. Of
  those 2,803 issues, Ocwen assigned the highest risk rating, “R1,” to more than 550 issues, many
  of which resulted from REALServicing’s deficiencies.”

        Ocwen has never challenged the CFPB's description of these reports as inaccurate. As this

  description clearly shows, these reports reveal Ocwen is tracking its own "regulatory

  violations, risk areas, and other failures" in spreadsheets. These reports were not required by the

  consent decrees. They were not prepared by attorneys. They were prepared in the ordinary

  course of Ocwen’s business by its internal auditors and employees.

         C. FRE 404 Does Not Prohibit Todd from Obtaining the Risk Convergence Reports
            or Email Correspondence.

         Ocwen states that “Plaintiff intends to use [the Risk Convergence Reports] as propensity

  evidence to cast Defendant as a ‘bad actor’ or as evidence to prove Plaintiff’s claims in this case.

  Rule 404 of the Federal Rules of Evidence prohibits this.” (internal citation omitted). This

  evidentiary objection is not a valid objection to discovery and is largely irrelevant. As detailed in

  Edeh v. Equifax Info. Servs., LLC., Civil No. 11-CV-2671 (SRN/JSM), 2013 U.S. Dist. LEXIS

  60421 (Minn. Apr. 29, 2013): “Discovery need not be admissible at trial if the discovery appears

  reasonably calculated to lead to the discovery of admissible evidence. Should Defendant

  consider the evidence inadmissible at trial, Defendant is free to bring a motion in limine at that

  time.” Be that as it may, the purposes for which Todd seeks to use the Risk Convergence Reports

  and Email Correspondence are expressly permitted by the Federal Rules of Evidence.

         First, Ocwen conflates 404(b)(1) with 404(b)(2). Rule 404(b)(1) provides as follows:

  “Evidence of a crime, wrong, or other act is not admissible to prove a person’s character in order

  to show that on a particular occasion the person acted in accordance with the character.” Fed. R.

  Evid. 404(b)(1). Conversely, 404(b)(2) provides that this evidence “may be admissible for



                                                   15
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 16 of 20 PageID #: 2256




  another purpose such as proving motive, opportunity, intent, preparation, plan, knowledge,

  identity, absence of mistake, or lack of accident … .” Fed. R. Evid. 404(b)(2). Here, Todd seeks

  to use the Risk Convergence Reports for some of the expressly named purposes—namely,

  opportunity and knowledge.       In short, Defendant had the opportunity to correct the servicing

  issues it was apprised of in the Risk Convergence Reports and had knowledge of its potential to

  commit the type of errors the Plaintiff alleges in the case at bar.

         D. F.R.E. 408 Does Not Prohibit Todd from Obtaining the Risk Convergence
            Reports or Email Correspondence.

         Ocwen also argues that Todd’s requests for the Risk Convergence Reports and Email

  Correspondence are improper as production would run afoul of F.R.E. 408. Here again, Ocwen

  raises an evidentiary objection - not a valid objection to discovery. See, Edeh v. Equifax Info.

  Servs., LLC., Civil No. 11-CV-2671 (SRN/JSM), 2013 U.S. Dist. LEXIS 60421 (Minn. Apr. 29,

  2013). In support of this proposition, Ocwen cites to Paul Harris Stores, Inc. v.

  PricewaterhouseCoopers, LLP, No. 1:02-cv-1014-LJM-VSS, 2006 U.S. Dist. LEXIS 65840,

  *17-18 (S.D. Ind. Sept. 14, 2006).

         However, the issue in Paul Harris Stores, Inc. was not whether items related to or

  included in consent decrees were discoverable but rather whether a consent decree (attached in

  its entirety in support of a motion in opposition to summary judgment) was admissible. Further,

  despite deeming the document in its entirety inadmissible, the court specifically noted how

  evidence that consent decrees were entered could be properly introduced into evidence.

         E. Todd’s Requests for the Risk Convergence Reports and Email Correspondence
            Are Not Overly Broad.

         Ocwen also contends Todd’s request for the Risk Convergence Reports and Email

  Correspondence are overly broad. This argument is also fatally flawed. For instance, given the



                                                    16
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 17 of 20 PageID #: 2257




  CFPB’s description of Risk Convergence Reports, the limited number of spreadsheets at issue,

  and the ease of producing them electronically, the request simply can not be construed more

  narrowly. As for the Email Correspondence (search terms Nos. 4-13), the request is narrowly

  tailored to identify any internal management and executive communications regarding mortgage

  servicing standards set out in Ocwen identified “Metrics” that are directly relevant to the facts at

  issue in this case as well as any discussions of Bankruptcy compliance. Certainly, given that

  Todd has made detailed factual allegations touching upon these issues, it is reasonable for

  Ocwen to search for emails that touch upon these topics. Further, term searches are not difficult

  or expensive in the abstract. Unless of course a party contrives a byzantine system of archiving

  and maintaining records so to turn any such request into a burdensome or expensive proposition.

         F. Todd’s Requests for the Risk Convergence Reports and Email Correspondence
            Are Not Unduly Burdensome.

         Ocwen also contends Todd’s requests for the Risk Convergence Reports and Email

  Correspondence is unduly burdensome. However, this naked assertion is as equally flawed as its

  previous argument. First, when a party objects to the production of documents as unduly

  burdensome, “it must adequately demonstrate the nature and extent of the claimed burden by

  making a specific showing as to how the disclosure of the requested documents and information

  would be particularly burdensome.” Perry v. City of Gary, Ind., No. 2:08-CV-280-JVB-PRC,

  2009 WL 2253157 *4 (N.D. Ind. July 27, 2009). Ocwen has failed to make specific showings

  whatsoever. Similarly, insofar as Ocwen now seeks to cure this deficiency by generally alluding

  to the amount of time to obtain and review these email correspondence, “the mere fact that a

  party will be required to expend a considerable amount of time or effort in answering a request is

  not a sufficient reason to preclude discovery.” In re Peregrine Fin. Grp. Customer Litig., No. 12

  C 5546, 2015 WL 1344466 (N.D. Ill. Mar. 20, 2015).


                                                  17
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 18 of 20 PageID #: 2258




         Likewise, Ocwen’s vague assertion that complying with Plaintiffs' requests would be an

  “enormous undertaking” is not specific enough to preclude discovery. Defendant's contentions

  would have more force if it had provided an estimate of the cost or hours involved in searching,

  compiling, and producing the requested information. See, e.g., Bitler Inv. Venture II, LLC v.

  Marathon Ashland Petroleum LLC, No. 1:04–CV–477, 2007 WL 1164970, at *4 (N.D. Ind. Apr.

  18, 2007) (denying discovery on the basis of affidavits demonstrating number of hours required

  to conduct search). Defendant, however, provided no affidavits or other evidence describing the

  monetary cost or time required to comply with Plaintiffs' requests; consequently it has not

  carried its burden. See, e.g., Boyer v. Gildea, No. 1:05–CV–129, 2008 WL 4911267, at *5 (N.D.

  Ind. Nov. 13, 2008) (granting motion to compel where resisting party did not establish “the

  amount of time” or “the cost of producing” the documents); Schaap, 130 F.R.D. at 387

  (requiring “affidavit or some other evidence” to support objection to motion to compel).

         Notwithstanding the foregoing, to determine whether a particular request is unduly

  burdensome, a court must determine the proportionality of the request. Proportionality is

  determined by considering the importance of the issues at stake, the amount in controversy, the

  parties’ relative access to relevant information, the parties’ resources, the importance of the

  discovery in resolving the issues, and whether the burden or expense of the proposed discovery

  outweighs its likely benefit. It is Ocwen’s burden to establish the disproportionality of the

  requests.

         Here, a proportionality analysis favors production of the Risk Convergence Reports and

  Email Correspondence. Ocwen is a publicly traded company with a book value in the billions of

  dollars. Ocwen is the only party with access to the Risk Convergence Reports and Email

  Correspondence. The issues at stake, systematic mortgage servicing errors resulting in



                                                 18
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 19 of 20 PageID #: 2259




  manufactured states of default and wrongful foreclosure, could hardly be greater. As reflected in

  Todd’s Settlement Demand dated June 18, 2019, and the 3.5 million dollar jury verdict in

  Saccameno - a case with strikingly eerily similar facts that was concluded before the errors and

  omissions herein, the amount in controversy is in the millions of dollars. The burden or expense

  of producing the discovery is minimal. The only way that this could become burdensome or

  expensive is if the corporate entity contrived an archaic system of records retention that created

  an unnecessary burden and expense in the hopes of thwarting discovery. Finally, the Risk

  Convergence Reports and Email Correspondence are not just important but are critical to

  resolving issues herein. Without them, Todd’s ability to prosecute this case, establish knowledge

  and willfulness, as well as defend against assertions by Ocwen that the errors and omissions here

  were an unpreventable one time event (another “Marla’s Mistake” ((D.E. 278, p. 46)), will be

  severely prejudiced.

                                            Conclusion

         Todd has attempted in good faith to resolve this discovery dispute. The Risk

  Convergence Reports and Email Correspondence are relevant to claims at issue. Ocwen has

  known about the problems with REALServicing and its lack of institutional safeguards for

  almost a decade. Yet it continues to claim these problems, the cause of allegations at issue, are

  isolated, one in a million errors. Todd is entitled to a broader scope of discovery, and this

  information, to establish the truth. For all these reasons, Todd respectfully requests that this

  Court enter the accompanying Order compelling Ocwen to provide Todd with the Risk

  Convergence Reports and Email Correspondence, within ten (10) days of the Court’s order on

  this motion.




                                                 19
Case 2:19-cv-00085-JMS-DLP Document 67 Filed 11/20/19 Page 20 of 20 PageID #: 2260




                                               Respectfully submitted,

                                               /s/ Travis W. Cohron
                                               Mike Maxwell, No. 10875-49
                                               Travis W. Cohron, No. 29562-30
                                               CLARK, QUINN, MOSES, SCOTT & GRAHN, LLP
                                               320 N. Meridian Street, Suite 1100
                                               Indianapolis, IN 46204
                                               Telephone: (317) 637-1321
                                               tcohron@clarkquinnlaw.com
                                               Counsel for the Plaintiff

                                               /s/ Nick Wooten
                                               Nick Wooten
                                               NICK WOOTEN, LLC
                                               5125 Burnt Pine Drive
                                               Conway, Arkansas 72034
                                               nick@nickwooten.com
                                               Counsel for the Plaintiff



                                      CERTIFICATE OF SERVICE

          I hereby certify that on November 20, 2019, a copy of the foregoing was filed
  electronically. Notice of this filing will be made on all ECF-registered counsel by operation of
  the Court’s electronic filing system. Parties may access this filing through the Court’s system.

   David M. Schultz
   Joseph D. Kern
   HINSHAW & CULBERTSON
   dshultz@hinshawlaw.com
   dkern@hinshawlaw.com
   Attorneys for Ocwen Loan Servicing, Inc.


                                               /s/ Travis W. Cohron
                                               Travis W. Cohron, No. 29562-30

  CLARK, QUINN, MOSES, SCOTT & GRAHN, LLP
  320 N. Meridian Street, Suite 1100
  Indianapolis, IN 46204




                                                  20
